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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


 TC TECHNOLOGY LLC,

                                 Plaintiff,

                 V.
                                                      Civil Action No. 16-cv-00153-RGA
 SPRINT CORPORATION and SPRINT
 SPECTRUM, L.P.,

                                 Defendants.

                                               ORDER

       The parties continue to have disputes over what Sprint now calls the Amati System. (D.I.

465,470,471). I have reviewed the transcript of the pretrial conference (D.I. 463) of April 26,

2019, where we discussed the same subject matter, although no one referred to it as the "Amati

System." The only way the Amati System is anticipating §102(g) prior art is if it was

constructively reduced to practice in the Cioffi '651 patent. TC Tech has stipulated that the

Cioffi '651 patent is §102(e) prior art, but disputes that it is anticipating.

       The main point of discussion at the pretrial conference was what Sprint was trying to

accomplish by what I was calling the "Jacobsen invention" or what Sprint now calls the Amati

system. We had the following colloquy:


        Judge: . . . [W]hat's in the Cioffi ' 651 patent, if that' s the reduction to practice of the
Jacobsen invention, the Jacobsen invention in terms of whether or not that anticipates, how come
they're not duplicative?
        Counsel for Sprint: They are largely duplicative ....
        Judge: But if the Cioffi patent reduces it to practice and it's undisputed prior art, you
don't need any of the rest of these, do you?
        Counsel for Sprint: .... We don't need them . ...
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         Judge: ... I think we're on the same page here, right, [Counsel]? If, as a matter of fact,
the Cioffi ' 651 [patent] doesn't have all the necessary elements, then it's not a reduction [to]
practice, right?
         Counsel for Sprint: It has to have - it has to disclose all the elements for one of skill in
the art to be able to understand that that's what's contemplated.

       Judge: Either Cioffi ['651 patent] shows that they had the invention or it doesn't.

        Judge: I think I can work with [the ICC and NCTA papers] down the road. Why don't
we work on the principle that we 're not going to introduce any [other documentary evidence],
[Sprint] is going to get to introduce [the ICC and NCTA papers to go along with the Cioffi ' 651
patent], and I will give some instruction, maybe an instruction at trial, write something up that
says that the ICC paper or the NCTA paper, they are - they do not count as - that there has to be
a reduction to practice for some invention, and they don't count, the only thing that counts is
Cioffi.

(D.I. 463 at 26:19-27:13, 28:21-29:6, 31:9-11 , 37:6-17).

       To clarify what I said before. (1) I will allow the ICC paper and the NCTA paper into

evidence, and allow Dr. Jacobsen to testify generally about her involvement in working with Dr.

Cioffi at the relevant time. I do this because I think it is relevant to her qualification to offer her

expert opinions. (2) I am not going to let the § 102(g) anticipation argument go to the jury. The

case (like all patent cases) is going to be confusing enough without introducing a duplicative

anticipation theory that has additional requirements over the § 102(e) anticipation argument. The

probative value is close to nothing, if not nothing, and is substantially outweighed by the danger

of confusion, unnecessary complexity and waste of time coming from a duplicative and more

complicated defense. Fed. R. Evid. 403. (3) The parties should submit no later than December 3

(if they have not already) a proposed jury instruction to be given during Dr. Jacobsen' s testimony

explaining the limited use for which the ICC and NCTA papers are being offered.

       IT IS SO ORDERED this ~          day of December 2019.




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